                                         Case 4:24-cv-02655-JST             Document 81       Filed 02/21/25       Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                             ABDI NAZEMIAN, et al.,                            Case No. 24-cv-01454-JST (SK)
                                   7                                                           Case No. 24-cv-02655-JST (SK)
                                                          Plaintiffs,
                                   8
                                                    v.
                                   9                                                           NOTICE OF REFERRAL FOR
                                                                                               DISCOVERY
                                             NVIDIA CORPORATION,
                                  10
                                                          Defendant.
                                  11

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13             This case has been referred to Magistrate Judge Sallie Kim for discovery. The parties must

                                  14   comply with the Standing Order for Magistrate Judge Kim, which is available on the Court’s

                                  15   website at http://www.cand.uscourts.gov/sk.

                                  16             The parties are advised that the Court will only address discovery disputes that are

                                  17   presented by a joint letter brief in compliance with the Court’s Standing Order after the parties

                                  18   have meet and conferred. If the parties filed a discovery motion brief before this matter was

                                  19   referred to the undersigned, the motion is HEREBY DENIED without prejudice. If the parties

                                  20   filed a joint letter brief, within three days from issuance of this Notice the parties shall file a joint

                                  21   statement verifying that they have complied with the meet and confer requirement of the Standing

                                  22   Order, prior to filing the letter. In the absence of such a statement, the request made through the

                                  23   joint letter brief is HEREBY DENIED without prejudice to filing a joint letter in compliance with

                                  24   the Court’s Standing Order.

                                  25   ///

                                  26   ///

                                  27   ///

                                  28   ///
                                        Case 4:24-cv-02655-JST        Document 81       Filed 02/21/25   Page 2 of 2




                                   1          Please contact the Courtroom Deputy Clerk Brenda Lopez at (415) 522-4158 with any

                                   2   questions.

                                   3          IT IS SO ORDERED.

                                   4   Dated: February 21, 2024

                                   5                                               ______________________________________
                                                                                   SALLIE KIM
                                   6                                               United States Magistrate Judge
                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                    2
